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                                                                                                               Dina L. Hamerman
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                                                                                                                  Alicia A. Tallbe
April 16, 2018                                                                                                 Sarah A. Sulkowski
                                                                                                                  Jesse M. Kantor
                                                                                                                  Craig M. Cepler
By ECF
                                                                                                                   *
                                                                                                                    Admitted NJ only
Magistrate Judge Peggy Kuo
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

         Re:      Eugene Duncan v. Cathay General Bancorp, d/b/a Cathay Bank
                  Case No.: 1:18-cv-00998

Dear Magistrate Judge Kuo:

        We represent defendant Cathay General Bancorp, d/b/a Cathay Bank (“Defendant”). We
write to seek an additional extension of time from April 16, 2018, to May 16, 2018 to respond to
the Complaint.

         This is Defendant’s second request for additional time to respond to the Complaint, and
Plaintiff consents to an extension of time. We apologize for the late notice of this request, but
Defendant has been reviewing materials provided by Plaintiff in an effort to resolve the instant
dispute absent further Court intervention and remains hopeful that the parties will be able to
settle this matter in the near term. We will keep the Court apprised as to those efforts and
promptly inform the Court if a settlement is reached.

         We thank the Court for its consideration of this request.



                                                        Respectfully submitted,

                                                        YANKWITT LLP


                                              By:                     ________
                                                        Russell M. Yankwitt


cc:      All counsel of record (by ECF)




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